Case 8:04-cr-00141-S_B-MAP Document 119 Filed 01/04/06 Page 1 of 2 PageID 440




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

HEIMAR SUAREZ,


-vs-                                                Case No. 8:04-cr-141-T-24MAP
                                                             8:05-cv-2385-T-24MAP

UNITED STATES OF AMERICA.
_____________________________


                                           ORDER

       This cause is before the Court on Defendant's successive 28 U.S.C. § 2255 motion to

vacate, set aside, or correct an allegedly illegal sentence. (Doc. cv-1; cr-118). On July 18,

2005, the Court addressed the merits of Defendant's original motion to vacate filed in Case No.

8:05-cv-1179-T-24MAP. (See Doc. cv-3; cr-116). In that case, this Court denied Defendant's

motion for reconsideration. Defendant's appeal was dismissed by the United States Court of

Appeals for the Eleventh Circuit for failure to prosecute. (Doc. cv-11, 12).

       On December 15, 2005, Defendant signed the present document entitled, "Defendant

Claim Actual Prejudice After Plain Error," which the Court construes as a successive 28 U.S.C.

§2255 motion to vacate. (Doc. cv-1; cr-118).

       Pursuant to 28 U.S.C. § § 2255 and 2244(b)(3)(A), as amended by the Antiterrorism and

Effective Death Penalty Act of 1996, federal prisoners who want to file a second or successive

motion to vacate, set aside, or correct a sentence must move the court of appeals for an order

authorizing the district court to consider the second or successive motion. See 28 U.S.C. §

2244(b)(3)(A). A three-judge panel of the court of appeals, § 2244(b)(3)(B), may authorize the

filing of a second or successive motion only if it determines that the motion contains claims
Case 8:04-cr-00141-S_B-MAP Document 119 Filed 01/04/06 Page 2 of 2 PageID 441




which rely on either: (1) newly discovered evidence that, if proven and viewed in the light of the

evidence as a whole, would be sufficient to establish by clear and convincing evidence that no

reasonable factfinder would have found the movant guilty of the offense; or (2) a new rule of

constitutional law, made retroactive to cases on collateral review by the Supreme Court, that

was previously unavailable. 28 U.S.C. § 2255. See In re Blackshire, 98 F.3d 1293 (11th Cir.

1996).

         Defendant Suarez has not fulfilled the requirements of the statutes as set out above.

Accordingly, Petitioner's successive 28 U.S.C. § 2255 motion to vacate (Doc. cv-1; cr-118) is

denied. The Clerk is directed to enter judgment against Defendant Suarez in Civil Case No.

8:05-cv-2385-T-24MAP, and to close that case. The Clerk is directed to send Defendant Suarez

the Eleventh Circuit's application form for a second or successive motion to vacate.

         ORDERED at Tampa, Florida, on January 4, 2006.




AUSA: Christopher P. Tuite; Peter Sholl

Pro se: Heimar Suarez




                                               -2-
